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                          THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                        CAMDEN VICINAGE
  ____________________________________________________ :
                                                        :
  In re: VALSARTAN, LOSARTAN, AND IRBESARTAN            :
  PRODUCTS LIABILITY LITIGATION                         : Master Docket No. 19-2875 (RBK/SAK)
                                                        :
                                                        :    Order on Certification of
                                                        :    Proposed Classes under FRCP
                                                        :    Rule 23 and on Class
                                                        :    Certification Expert Reports
                                                        :    under FRE 702
               This Document Applies to All Actions     :
  _____________________________________________________ :
  KUGLER, United States District Judge:
           THIS MATTER HAVING COME BEFORE the Court in this multidistrict litigation (“MDL” or
  “Valsartan MDL”) on several motions:
           from All plaintiffs: a motion to certify two economic loss classes, each having a number of
                   subclasses, as well as medical monitoring classes; and
            from Third Party Payor [“TPP”] plaintiffs: a separate motion to certify a TPP economic loss
                   class; and
            from both defendants and plaintiffs seeking to preclude the reports of the class certification
                   experts of the opposing party; and
            this Order being accompanied by an Opinion of this date setting forth reasons therein for the
                   rulings below,

           IT IS THEREFORE ORDERED, regarding the motions to preclude, or strike, the reports of the
  parties’ class certification experts:
           Plaintiffs’ Motion to Strike (ECF. No. 2043) New and Altered General Causation Opinions in the
  Report at ECF No. 2084, Exh. 2 of Michael Bottorff, PharmD is GRANTED, and in particular the
  following opinions of Dr. Bottorff are precluded:

    1. “Oral doses at the levels detected in the generic valsartan at issue in this litigation are
         metabolized in the liver almost completely, preventing exposure to other tissues and organs”
         (Bottorff Class Certification Report at 48:761-762);
    2. “NDMA/NDEA in valsartan will not reach systemic circulation” (Bottorff Class Certification
         Report at 47: 779); and
    3.   “DNA repair mechanisms in humans can be as much as 10 times higher than that in rats,
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        indicating a more active DNA repair in humans compared to rats” (Bottorff Class Cert. Report at
        52:830-831).
         Plaintiffs’ Motion to Preclude (ECF No. 2038 ) the Class Certification Report of David Chesney,
  BA, MSJ, is GRANTED IN PART AND DENIED IN PART. Only Mr. Chesney’s opinions on page 5 and
  immediately following in his Class Certification Report and which are limited to the issue of ZHP’s
  compliance with FDA current Good Manufacturing Practices and based solely on his review of ZHP
  documents have been considered here. The opinions and discussion in the rest of Mr. Chesney’s report
  have been precluded.
         Plaintiffs’ Motion to Preclude (ECF No. 2047) the Class Certification Report of Jason Clevenger,
  PhD, is GRANTED.

         Plaintiffs’ Motion to Preclude (ECF No. 2041) the Class Certification Report of Punam Keller,
  PhD, is GRANTED IN PART AND DENIED IN PART. Dr. Keller’s opinions on pages 30 to 45 in her
  Report have been precluded. Her opinions regarding scholarly literature on consumer health decision-
  making in pages 1-29 of her Report have been considered but only to the extent that these opinions are
  based on actual consumer surveys and real world consumer research.

          Plaintiffs’ Motion to Preclude (ECF No. 2048) the Class Certification Report of Timothy Kosty,
  RPh, MBA, is GRANTED IN PART AND DENIED IN PART. The information and opinions in pages 49-
  99 of Mr. Kosty’s Report have been precluded. Mr. Kosty’s discussion of the workings of the U.S.
  pharmaceutical industry in pages 15-48 of his Class Certification Report has been considered.

          Plaintiffs’ Motion to Preclude (ECF No. 2044) the Class Certification Report of William Lambert,
  PhD, is GRANTED IN PART AND DENIED IN PART. The following opinions in Dr. Lambert’s Report
  have been precluded:

  •       Dr. Lambert’s opinion about the “worthlessness” of the VCDs, couched in terms of
          bioequivalence, is an unqualified economics opinion,
  •       Any of Dr. Lambert’s opinions that the FDA’s Orange Book does or not establish / create
  manufacturer warranties. By excluding these opinions of Dr. Lambert’s, the Court is not expressly
  deciding one way or another whether the Orange Book creates manufacturer warranties; rather, the
  Court finds that Dr. Lambert is not a legal expert qualified to opine on such an issue.
  •       Any of Dr. Lambert’s opinions that plaintiffs failed to apply correct standards in determining for
  bioequivalence and pharmaceutical equivalence.
  •       Dr. Lambert’s opinions at ¶38 of his Class Certification Report; and
  •       Dr. Lambert’s opinions at ¶88 and ¶90 of his Class Certification Report.

  Any other of Dr. Lambert’s opinions in his Report has been considered.
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          Plaintiffs’ Motion to Preclude (ECF No. 2045) the Class Certification Report of Mark Robbins,
  PhD, JD is DENIED.

          Plaintiffs’ Motion to Preclude (ECF No. 2036) the Class Certification Report of Eric Sheinin, PhD
  is GRANTED IN PART AND DENIED IN PART. Paragraph 69, and paragraphs 79 to 102 in Dr.
  Sheinin’s Report have been precluded. Paragraphs 25 to 68, and paragraphs 70-78 in Dr. Sheinin’s
  Report have been considered but only as BACKGROUND information, and NOT as reliable expert
  opinion on class certification, liability, damages, etc. issues.

          Plaintiffs’ Motion to Preclude (ECF No. 2046) the Class Certification Report of Lauren Stiroh,
  PhD is DENIED.

          Defendants’ Motions (ECF Nos. 2040 [“General Motion”] and 2037 [‘Wholesalers Motion”]) to
  Preclude the Class Certification Report of Rena Conti, PhD are DENIED.

          Defendants’ Motion to Preclude (ECF No. 2033) the Class Certification Report of Ron Najafi,
  PhD is GRANTED.

          Defendants’ motion to Preclude (ECF No. 2035) the Class Certification Report of John Quick,
  MBA, is GRANTED IN PART AND DENIED IN PART. Mr. Quick’s opinions on pp. 6-7 of his Report
  regarding the terms “adulterated” and “misbranded” and whether the VCDs were “adulterated” and
  “misbranded” have been precluded; the other opinions in Mr. Quick’s Report have been considered.

          Defendants’ Motion to Preclude (ECF No. 2034) the Class Certification Report of Kaliopi
  Panagos, PharmD and RPh, is GRANTED IN PART AND DENIED IN PART. Dr. Panagos’s opinions at
  paragraphs 47, and 52-59 in her Report and in the Summary of Opinions on page 10, paragraphs: B, D, G
  – I have been precluded. Her opinions at paragraphs 1 to 46, 49-51 and 54 in her Report and in the
  Summary of Opinions on page 10, paragraphs: A, C, E, and F have been considered.

          Defendants’ Motion to Preclude (ECF No. 2024) the Class Certification Report of Edward
  Kaplan, MD, is DENIED.

         Defendants’ Motion to preclude the Class Certification Report of Zirui Song, MD, PhD is
  GRANTED IN PART AND DENIED IN PART. Dr. Song’s his opinions on a methodology for calculating
  in a similar way the spend for medical monitoring services in pages 22 through 26 of his Report have
  been precluded. His discussion of background information in pages 8 through 21 in his Report has been
  considered.

          IT IS FURTHER ORDERED, regarding plaintiffs’ motions to certify certain classes:

      Plaintiffs’ Motion to certify the Consumer Economic Loss Class is GRANTED BUT REQUIRES
  plaintiffs to amend their proposed subclasses in line with the recommendations in Table 3 herein;
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      Plaintiffs’ Motion to certify the Third Party Payor Class is GRANTED BUT REQUIRES plaintiffs to
  amend their proposed subclasses in line with the recommendations in Table 4 herein;
      Plaintiffs’ Motion to certify the Rule 23(b)(3) Class of Medical Monitoring as an Independent Claim
  [“Rule 23(b)(3) IND MedMon Class”] is GRANTED BUT REQUIRES plaintiffs to amend their proposed
  subclasses in line with the recommendations in Table 7 herein;
      Plaintiffs’ Motion to certify the Rule 23(b)(2) Class of Medical Monitoring as an Independent Claim
  [“Rule 23(b)(2) IND MedMon Class”] is DENIED without prejudice. The Court GRANTS plaintiffs the
  option to re-seek class certification of this class by briefing on the specific estoppel effects this class
  may have on the other two certified Medical Monitoring classes;
      Plaintiffs’ Motion to certify the Rule 23(b)(2) Class of Medical Monitoring as a Remedy is GRANTED
  BUT REQUIRES plaintiffs to amend their proposed subclasses in line with the recommendations in
  Table 7 herein; and

          IT IS FURTHER ORDERED:

          Defendants’ Motion (ECF No. 2069) for leave to file instanter sur-reply briefs in further
  opposition to plaintiffs motions for class certification, and Request for a class certification hearing is
  DENIED as made moot by this Opinion.




      Dated: 8 February 2023                                          s/ Robert B. Kugler
                                                                      Honorable Robert B. Kugler
                                                                      United States District Judge
